 Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 1 of 11 PAGEID #: 1137




                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA,                          :
                                                    :
                Plaintiff,                          :   Case No. 3:17-cr-59
                                                    :
         v.                                         :   Judge Thomas M. Rose
                                                    :
 MYRON BAKER,                                       :
                                                    :
                Defendant.                          :
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

        This is the order referenced in the Court’s 10/09/2020 notation concerning the two most

recent pro se letters sent to the Court by Defendant Myron Baker (“Baker”) (Docs. 159 and 160).

(10/09/2020 Entry.)

   I.         BACKGROUND

        A. Appointment of Attorney Mayhall and August 28, 2020 Hearing

        Nearly three-and-a-half years ago, on April 25, 2017, the United States of America (the

“Government”) filed the original indictment in this case against Baker. (Doc. 17.) On February

5, 2020, the Court granted Baker’s motion for appointment of new counsel, and the Court ordered

that the earlier appointment of Aaron G. Durden, Esq. (“Mr. Durden”) as Baker’s counsel be

terminated. (02/05/2020 Minute Entry; 02/05/2020 CJA 7.) A little over two weeks later, the

Court appointed attorney Richard E. Mayhall, Esq. (“Mr. Mayhall”) as counsel for Baker, pursuant

to 18 U.S.C. § 3006A, upon review of Baker’s previously submitted financial affidavit. (Doc.

137.) According to the Court’s docket, Mr. Mayhall is Baker’s sixth attorney in this case, three of




                                                1
    Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 2 of 11 PAGEID #: 1138




whom have been appointed: Vincent Popp, Mr. Durden (on two separate occasions), and Mr.

Mayhall.1

        At the time of Mr. Mayhall’s appointment, there was a pending Motion for Withdrawal of

a Plea filed by Baker (Doc. 128). The hearing on that motion took place (after Mr. Mayhall’s

appointment) on June 16, June 17, July 17, and August 28, 2020. (See Docs. 152, 153, 154, 155,

and 158 at PAGEID # 1106.)

        On August 12, 2020, Mr. Mayhall filed a motion to withdraw as Baker’s attorney. (Doc.

147.) In that motion, Mr. Mayhall stated that, “[w]ithout getting into matters that are protected by

attorney client privilege, Baker wants to reverse course on certain decisions that have already been

made,” that “[t]his would have the effect of extending the case,” and that “Mayhall was extremely

uncomfortable with the latest proposed tactics.” (Id. at PAGEID # 669.) At a hearing on August

28, 2020, Mr. Mayhall stated that he would withdraw his motion to withdraw as Baker’s attorney.

(Doc. 155 at PAGEID # 1017-18.) The Court asked Baker if that was “all right with you,” to

which Baker responded: “Actually, no Your Honor.” (Id. at PAGEID # 1018.) Baker then made

the following statement:

        I requested Mr. Mayhall to do a couple different things that he has not done just
        recently, as recently. I don’t know of any other way to get it done because you said
        I can’t move or do anything myself and he’s not doing it.

(Id.) Upon the Court explaining to Baker that, in the correspondence that he had recently sent to

the Court, Baker had not taken the position of wanting new counsel or to fire Mr. Mayhall, Baker

responded:




1
  See also Doc. 158 at PAGEID # 1107 (“Since its inception in 2017, Baker has admittedly been ‘represented by
several different lawyers’ in this case. (Doc. 153 at PAGEID # 834.) This includes that Aaron G. Durden, Esq.
(‘Mr. Durden’) was appointed to represent Baker in April of 2017 (Doc. 19), relieved of his representation by way
of a motion for substitution of counsel filed by Baker in February of 2018 (Doc. 44; 02/07/2018 Notation Order),
and then re-appointed in May of 2019 to represent Baker at Baker’s request (Docs. 88, 92).”).

                                                         2
 Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 3 of 11 PAGEID #: 1139




       Because at that time I was still communicating with Mr. Mayhall about the things
       I had requested him to do, and he still has yet to do any of it.

(Id. at PAGEID # 1018-19.) The Government stated that was “the first we’ve heard of Mr. Baker

not wanting Mr. Mayhall to represent him. … None of those motions indicate that he wants Mr.

Mayhall off the case. There is nothing that he’s communicated today as to what he wanted Mr.

Mayhall to do in particular that Mr. Mayhall did not do.” (Id. at PAGEID # 1019.)

       The Court then granted Mr. Mayhall’s oral motion to withdraw his motion to withdraw as

Baker’s attorney, overruling Baker’s objection. (Id. at PAGEID # 1019-21; 08/31/2020 Minute

Entry.) The Court stated the following:

       [T]he Court, based upon the withdrawal of -- by Mr. Mayhall of his motion to
       withdraw, the Court -- and based upon the correspondence that the Court has
       previously received from Mr. Baker, which has been filed in the docket as Dockets
       149 and 150 and which the Court has now marked as Court's Exhibit 1 and 2, and
       based upon the fact that the timeliness of any request at this time by Mr. Baker to
       any extent of conflict between Mr. Mayhall and Mr. Baker and in the public interest
       for the prompt and efficient administration of justice, the Court does find that the
       granting of any request by Mr. Baker at this time would require yet another
       continuance in this matter of Mr. Baker's pending motion to withdraw his plea of
       guilty. Again, this ruling is based upon Mr. Baker's correspondence and Court's
       Exhibit 1 and 2. Up until this moment, Mr. Baker had not been requesting for any
       substitution of counsel, and this is not a situation in which the Court would
       substitute counsel.

       The Court does not believe that the conflict between Mr. Baker and Mr. Mayhall is
       so great that it has resulted in any total lack of communication preventing an
       adequate defense. Mr. Mayhall has indicated here upon the record as indicated that
       he is prepared to proceed on Mr. Baker's behalf. Mr. Mayhall has been filing papers
       for Mr. Baker, i.e., one of the documents that will be taken into consideration, being
       the waiver of his attorney-client privilege with regard to Mr. Durden.

       The Court finds that in the interests of an efficient administration of justice, it
       weighs heavily against granting such a motion. These proceedings have been
       moving extremely slow. The criminal case was filed in 2017 and has not yet reached
       a sentencing phase.

       The government, of course, agrees that the proceedings have been very slow.
       Granting the motion, of course, would require again a last-minute continuance
       regarding the motion to withdraw, and further delay the proceedings and likely


                                                 3
 Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 4 of 11 PAGEID #: 1140




       require another attorney to be -- to represent Mr. Baker, and more delays to allow
       the attorney to get up to speed.

       Mr. Baker, the Court would note, has cycled through a number of attorneys who
       have represented him in this specific case. The Court has no confidence that any
       replacement of Mr. Mayhall with any other attorney would solve the perceived
       conflict or issues that have been identified here in court. The Court will
       memorialize that decision by way of entry.

(Doc. 155 at PAGEID # 1019-21.) The following exchange then occurred:

       THE DEFENDANT: Your Honor, if I may say something?

       THE COURT: Not right now. Now Mr. Mayhall is representing you.

       THE DEFENDANT: I understand.

(Id. at PAGEID # 1021.)

       The August 28, 2020 hearing then continued regarding Baker’s motion to withdraw his

guilty plea. Following testimony by Baker’s former attorney (Mr. Durden), Baker made the

decision to testify a second time. (Id. at PAGEID # 1067-1070.) At the end of Baker’s rebuttal

testimony, the following exchange occurred:

       Q. So keeping in mind what the judge just said, is there anything about Mr.
       Durden's testimony that you would want to respond to and haven't responded to
       yet?

       A. No, not at this time.

       Q. Well, this is the time.

       A. No, I don't.

(Id. at PAGEID # 1070.)

       Following Baker’s rebuttal testimony, the parties rested with respect to the hearing on

Baker’s motion to withdraw his guilty plea. (Id. at PAGEID # 1071.) After the Court ruled on the

parties’ motions to admit various exhibits, the Court indicated that a transcript of the hearing would

be ordered and would be ready in about fourteen days, then counsel would have ten days to submit

a closing brief (if counsel chose to do so) regarding the motion to withdraw the guilty plea, and

                                                  4
 Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 5 of 11 PAGEID #: 1141




opposing counsel would have five days to file a response to any submitted closing brief. (Id. at

PAGEID # 1071-75.) No reply briefs were permitted. (Id.)

       On September 10, 2020, transcripts of the hearing were filed. (Docs. 152, 153, 154, and

155.) On September 18, 2020, Mr. Mayhall, on behalf of Baker, filed a “Post-Hearing Brief and

Closing Argument of Defendant Myron D. Baker.” (Doc. 156.) The Government filed a response

on September 22, 2020. (Doc. 157.) On October 6, 2020, the Court entered an order denying

Baker’s motion for withdraw of a plea. (Doc. 158.)

       Throughout the multi-day hearing on the motion to withdraw his guilty plea, Baker was

represented by Mr. Mayhall, who communicated with Baker during the hearing and called

witnesses to testify on Baker’s behalf (including Baker himself two times, the second time as a

rebuttal witness), obtained favorable testimony from those witnesses, cross-examined the

witnesses called by the Government, obtained favorable admissions from those witnesses, and

lodged objections. (Docs. 152, 153, 154, and 155.) Additionally, Mr. Mayhall filed a thorough

ten-page “Post-Hearing Brief and Closing Argument of Defendant Myron D. Baker” in support of

Baker’s motion to withdraw his guilty plea. (Doc. 156.)

       B. Two Letters Sent by Baker to the Court

       Subsequent to the hearing, Baker mailed the Court two letters: Document 159 (dated

September 7, 2020) and Document 160 (dated October 1, 2020), both with the re: line “Ineffective

Assistance of Counsel.” In the first letter, Baker says that he “attempted to express to [the Court]

[his] dissatisfaction with the representation being provided to [him] by Mr. Mayhall. … The

purpose of this letter to is clarify [his] requests to Mr. Mayhall which he ignored and also to offer

proof of those requests, if proof is necessary.” (Doc. 159 at PAGEID # 1128.) Baker then goes

on to describe requesting Mr. Mayhall to provide printed copies of Baker’s own requests to Mr.

Mayhall made over jail mail kiosks; Baker indicates in the letter that he had since received copies
                                                 5
    Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 6 of 11 PAGEID #: 1142




of the written correspondence. (Id.) Baker states that his “deepest concerns are related to the

record in this case and objections not made by Mr. Mayhall. … [Baker] also requested that Mr.

Mayhall file a motion on [his] behalf to make the necessary objections.” (Id. at PAGEID # 1129.)

Baker also states in the letter that he requested an opportunity to provide further testimony about

his communications with former counsel Aaron Durden, and that “[a]lthough [he] was given an

opportunity to offer rebuttal after Mr. Durden’s testimony was given, the nature and direction of

Mr. Mayhall’s questioning effectively restricted [his] testimony to only rebut Mr. Durden’s

testimony despite [his] request. This left key factors unexpressed and [Baker] confused about what

to do about it.” (Id.)

         The first letter does not make any specific request apart from Baker stating that he “would

very much appreciate the Court’s assistance in this matter.” (Id.) The first letter essentially is a

tardy attempt by Baker to supplement the comments he made at the August 28, 2020 hearing both

with respect to (1) Baker’s objection to Mr. Mayhall’s withdrawal of Mr. Mayhall’s motion to

withdraw as Baker’s attorney; and (2) Baker’s testimony in support of his motion to withdraw his

guilty plea.

         In the second letter, Baker asserts that he is “being deprived of [his] constitutional right to

effective assistance of counsel.” (Doc. 160 at PAGEID # 1131.) He says that “Mr. Mayhall has

ignored or completely disregarded requests which were previously made to him and his blatant

disregard still continues to this day.” (Id.) Baker attaches to the letter a purported letter from him

to Mr. Mayhall dated September 6, 2020.2 (Id. at PAGEID # 1136.) Baker states that he requested




2
 In that letter to Mr. Mayhall, Baker tells Mr. Mayhall that he wants to review and consent to any filings before they
are submitted to the Court and to be provided with a copy of anything the Government files in response to their final
arguments on the motion to withdraw his guilty plea in order “to allow us adequate time to offer rebuttal.” (Doc.
160 at PAGEID # 1136.) However, as indicated above, the Court did not permit the parties to file any reply brief.

                                                          6
 Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 7 of 11 PAGEID #: 1143




that Mr. Mayhall “not file anything in this case on [his] behalf before [he has] been given [an]

opportunity to review it with [Mr. Mayhall] and give [his] consent.” (Id. at PAGEID # 1131.)

       Baker also argues in the second letter that there is a conflict of interest between him and

Mr. Mayhall. (Id. at PAGEID # 1131-32.) He “assumed that the Court would see the conflict of

interest between him and [Mr. Mayhall], therefore granting [Mr. Mayhall] permission to withdraw

as counsel and there would be little need for [Baker] to point out the obvious conflict of interest

between [Baker and Mr. Mayhall] to the Court.” (Id. at PAGEIED # 1132 (emphasis added).)

Baker then states: “Unfortunately Mr. Mayhall withdrew his motion to withdraw as counsel and

the Court disregarded [his] wish to replace [Mr. Mayhall] as counsel.” (Id.) (As shown above,

the Court did not “disregard[] [Baker’s] wish to replace [Mr. Mayhall] as counsel.”)

       Baker goes on to complain in the second letter that Mr. Mayhall “has failed to [speak on

his behalf] effectively,” and asserts that “it is [Mr. Mayhall’s] duty to communicate to the Court

those things which [Baker], as the Defendant, express[es] to him” and Mr. Mayhall “failed to do

this duty abusing his implied discretion.” (Id.) Baker then impliedly requests a new attorney. (Id.

(“I only need an attorney to convey my words to the Court in the language of legal professionals

or law practitioners”).) Baker details items that he allegedly discussed with Mr. Mayhall in

preparation for the hearing on his motion to withdraw the guilty plea. (Id. at PAGEID # 1132-33.)

Baker says that Mr. Mayhall “refused to communicate the latter of these things to the Court and

ineffectively assisted [Baker] in clarifying this matter before this Court despite his understanding

of the situation and [Baker’s] obvious attempt to clarify it [him]self.” (Id. at PAGEID # 1133.)

Baker then asserts that he is innocent and says that he “only ask[s] to be given the opportunity to

receive a fair trial with the effective assistance of counsel.” (Id. at PAGEID # 1133-34.) He then

proceeds to provide additional argument in support of his motion to withdraw the guilty plea,



                                                 7
    Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 8 of 11 PAGEID #: 1144




including discussing what he believes were failures by Mr. Durden and disagreements between

them regarding how best to defend his case at trial.3 (Id. at PAGEID # 1134-35.) He says that

“[a]ll of these facts were brought to the attention of Mr. Mayhall who failed to effectively assist

[him] in expressing these things before this Court despite [Baker’s] requests and active attempts

to do so [him]self.” (Id. at PAGEID # 1134-35.)

           Baker then again says that he “only wish[es] for a fair chance to prove [his] innocence.”

(Id. at PAGEID # 1135.) He “only hope[s] that [the Court] will provide [him] with some type of

assistance because Mr. Mayhall failed to effectively assist [him] and refused even [his] last chance

to clarify these things in the final arguments despite [his] request.” (Id.) Baker then indicates that

Mr. Mayhall had already filed his “Post-Hearing Brief and Closing Argument of Defendant Myron

D. Baker” (Doc. 156), and Baker says that he “want[s] an opportunity to be involved in the rebuttal

of anything the Government files in relation to these final arguments.” (Doc. 160 at PAGEID #

1135.) (Again, the Court specifically stated—in Baker’s presence during the August 28, 2020

hearing—that no replies would be permitted.)

     II.      HYBRID REPRESENTATION

           “It is well settled that there is no constitutional right to hybrid representation.” United

States v. Steele, 919 F.3d 965, 975 (6th Cir. 2019) (internal quotation marks omitted). When a

defendant does not unequivocally waive his right to counsel, he cannot assert his right to self-

representation. Id. (citing United States v. Conder, 423 F.2d 904, 908 (6th Cir. 1970) (“a defendant

must make a choice, and he should not be permitted to manipulate his choice so that he can claim

reversible error on appeal no matter which alternative he apparently chose in the District Court.”)).


3
  The Court notes that, as found in the Order denying Baker’s motion to withdraw guilty plea, the testimony at the
hearing supported that, on the morning of the anticipated trial, “the Government, Mr. Durden, and Baker were all
ready to proceed with a trial.” (Doc. 158 at PAGEID # 1107; see also Doc. 153 at PAGEID # 852-53; Doc. 155 at
PAGEID # 1033-34.)

                                                         8
 Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 9 of 11 PAGEID #: 1145




“[T]he question whether to allow a defendant to participate in his own defense along with counsel

in ‘hybrid representation’ is a matter committed to the sound discretion of the trial court.” United

States v. Mosely, 810 F.2d 93, 97-98 (6th Cir. 1987). However, there are a number of obvious

reasons to refuse to allow hybrid representation, including undue delay, confusion, and, “where

one of the co-counsel is the accused, conflicts and disagreements as to trial strategy are almost

inevitable.” Id. (affirming denial of motion for hybrid representation filed by a defendant who was

also an attorney and a judge).

       Here, Baker has never made any indication that he wishes to represent himself in this case

or waive his right to counsel. Steele, 919 F.3d at 975. Additionally, when Baker has attempted to

argue the merits of his case while represented by counsel, the Court has repeatedly informed Baker

that hybrid representation is prohibited. (See, e.g., Doc. 116 (striking Baker’s personally-filed

“Motion in Objection to Non-Suppressed Evidence” and stating that “[h]ybrid representation is

prohibited”).) Baker has indicated to the Court that he understands this prohibition. (See, e.g.,

Doc. 128 at PAGEID # 578.) The Court understands the logic behind Baker’s decision to express

directly to the Court his concerns about his lawyer while being represented by that lawyer, and

those specific types of communication typically do not constitute prohibited hybrid representation.

See, e.g., United States v. Williams, 176 F.3d 301, 314 (6th Cir. 1999) (defendant requested new

counsel by letter to the court two weeks prior to trial). However, much of Baker’s two most recent

pro se letters go much further by attempting to present evidence in support of the merits of his

motion to withdraw his guilty plea.          Such advocacy constitutes impermissible hybrid

representation in violation of the Court’s prior orders and warnings. See also McCoy v. Louisiana,

138 S. Ct. 1500, 1508, 200 L. Ed. 2d 821 (2018) (it is the lawyer who makes “decisions such as

what arguments to pursue, what evidentiary objections to raise, and what agreements to conclude



                                                 9
Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 10 of 11 PAGEID #: 1146




regarding the admission of evidence,” while “[s]ome decisions … are reserved for the client—

notably, whether to plead guilty, waive the right to a jury trial, testify in one’s own behalf, and

forgo an appeal,” as well as the decision of whether to assert innocence); id. (as a general matter,

the decisions reserved for the client “are choices about what the client’s objectives in fact are,”

while “strategic choices about how best to achieve a client’s objectives” are for the lawyer to make)

(emphasis in original); United States v. Perry, 908 F.2d 56, 59-60 (6th Cir. 1990) (tactical choices

concerning whether to pursue an argument “are properly left to the sound professional judgment

of counsel”).

          Furthermore, Baker was given the opportunity to testify—and did testify (twice)—at the

hearing on his motion to withdraw his guilty plea prior to both parties resting. Thus, his attempts

through the letters to supplement the evidence and arguments in support of his motion to withdraw

his guilty plea not only violate the Court’s prohibition on hybrid representation, but such attempts

also are and were tardy.

   III.      CONCLUSION

          The Court sets a hearing to take place on Wednesday, November 4, 2020, at 2:30 p.m. to

consider Baker’s request in his second letter for new (substituted) appointed counsel. Williams,

176 F.3d at 314 (“A defendant is required to show good cause for a request to substitute counsel

and to do so in a timely manner”). If the Court grants that request and therefore allows Baker to

substitute his counsel (Mr. Mayhall), then new counsel will be appointed to represent Baker

moving forward, including for purposes of sentencing and final disposition. Following the

hearing, the Court will set a date and time for sentencing and final disposition. Regardless of the

outcome of Baker’s request for new (substituted) appointed counsel, this case will continue to

sentencing and final disposition.



                                                 10
Case: 3:17-cr-00059-TMR Doc #: 161 Filed: 10/20/20 Page: 11 of 11 PAGEID #: 1147




     DONE and ORDERED in Dayton, Ohio, this Tuesday, October 20, 2020.

                                                        s/Thomas M. Rose
                                                ________________________________
                                                        THOMAS M. ROSE
                                                UNITED STATES DISTRICT JUDGE




                                       11
